             Case 4:16-cv-00050-YGR               Document 84      Filed 10/06/16     Page 1 of 5




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                                        UNITED STATES DISTRICT COURT
19
                                     NORTHERN DISTRICT OF CALIFORNIA
20
      JAMAL RASHID TRULOVE,                                  Case No. 16-cv-00050-YGR
21
              Plaintiff,                                     STIPULATION AND [PROPOSED] ORDER
22                                                           REGARDING PRODUCTION OF JUVENILE
              vs.                                            RECORDS
23
      THE CITY AND COUNTY OF SAN
24    FRANCISCO, et al.,
                                                             Trial Date:            October 30, 2017
25            Defendants.
26

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      Stipulation and [Proposed] Order Re Juvenile Records                               n:\lit\li2016\160675\01116038.doc
      Case No. 16-cv-00050-YGR
            Case 4:16-cv-00050-YGR               Document 84   Filed 10/06/16   Page 2 of 5



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     Case No. 16-cv-00050-YGR
             Case 4:16-cv-00050-YGR               Document 84        Filed 10/06/16    Page 3 of 5




 1                                                   STIPULATION

 2           Pursuant to Federal Rule of Civil Procedure 26(c), the parties have met and conferred and

 3   stipulate as follows:

 4       1. California Welfare and Institutions Code §§ 827 and 827.9 limit the release of juvenile case

 5           files and police records to specified persons and entities. Beyond that, the records may be

 6           released only with a court order. See §§ 827(a)(1)(P); 827.9(e).

 7       2. The parties seek a court order authorizing the production of juvenile records for Oliver

 8           Barcenas, David Trulove, and Joshua Bradley to Plaintiff and his attorneys, as confidential

 9           material under the terms of the protective order.

10       3. Good cause exists for the Court to issue an order authorizing the production of juvenile records

11           for Oliver Barcenas, David Trulove, and Joshua Bradley. Each has received notice and has

12           signed a waiver authorizing the release of his juvenile records, to be marked confidential and

13           produced under the terms of the protective order, for use in this action. The authorizations are

14           attached as Exhibits A, B, and C. Additionally, these individuals are potential witnesses; their

15           records are relevant and of interest to both parties.

16       4. The parties therefore jointly request that the Court order that such records may be produced by

17           defendants to plaintiff in this civil action, marked as confidential and subject to the provisions

18           of the protective order previously issued by this Court in this matter.

19           IT IS SO STIPULATED.

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      Stipulation and [Proposed] Order Re Juvenile Records   1                           n:\lit\li2016\160675\01116038.doc
      Case No. 16-cv-00050- YGR
             Case 4:16-cv-00050-YGR               Document 84           Filed 10/06/16   Page 4 of 5



     Dated: October 6, 2016
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                                                         RENEE L. ERICKSON
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 6
                                                   By:     /s/ Renee L. Erickson
 7                                                       RENEE L. ERICKSON

 8                                                       Attorneys for Defendant
                                                         CITY AND COUNTY OF SAN FRANCISCO
 9

10   Dated: October 6, 2016
11                                                       NEUFELD, SCHECK AND BRUSTIN, LLP
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12
                                                         ANNA BENVENUTTI HOFFMANN
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14                                                 By:       /s/ Nick J. Brustin

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      Stipulation and [Proposed] Order Re Juvenile Records        2                        n:\lit\li2016\160675\01116038.doc
      Case No. 16-cv-00050- YGR
              Case 4:16-cv-00050-YGR              Document 84    Filed 10/06/16    Page 5 of 5




 1                                                      ORDER

 2            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT BASED ON THE ABOVE

 3   ENTERED STIPULATION, and the attached authorizations, the defendants are authorized to produce

 4   juvenile records for Oliver Barcenas, David Trulove, and Joshua Bradley to plaintiff and his attorneys,

 5   marked as confidential and subject to the provisions of the protective order previously issued by this

 6   Court.

 7            IT IS SO ORDERED.

 8
     Dated: _________________                           ___________________________________________
 9                                                      THE HONORABLE YVONNE GONZALEZ ROGERS
                                                        UNITED STATES DISTRICT JUDGE
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      Stipulation and [Proposed] Order Re Juvenile Records   3                        n:\lit\li2016\160675\01116038.doc
      Case No. 16-cv-00050- YGR
